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NAME:                                                Robert Anthony Saul


ADDRESS: (Home):                                     108 Wimbledon Court
                                                     Greenwood, SC 29646
                                                     864-980-8372 (M)
                                                     Email—robertsaul@me.com

            (Work):                                  Prisma Health-Upstate
                                                     Children’s Hospital (retired)
                                                     Email—robert.saul@prismahealth.org

DATE OF BIRTH:                                       March 17, 1950

PLACE OF BIRTH:                                      Chicago, Illinois

MARRIAGE:                                            Molly Ann McClure, October 31, 1970
                                                     (Separated 1986, Divorced 1987)

                                                     Jan LeRoy Hemminger, February 6, 1988

CHILDREN:                                            Bradley Conor Saul, (B.D. 6/9/78)
                                                     Benjamin Robert Saul, (B.D. 9/23/90)

EDUCATION:                                           High School - Palmer High School
                                                      Colorado Springs, Colorado - 1968

                                                     College - Duke University, Durham, NC
                                                      1968-1970

                                                     Colorado College, Colorado Springs, CO
                                                      1970-1972

                                                     Degree - B.A., magna cum laude

                                                     Medical School - University of Colorado
                                                      School of Medicine - 1972-1976

                                                     Degree - M.D., cum laude




APPOINTMENTS, POSITIONS:

     First Year Resident in Pediatrics – Duke University Medical Center, Durham, NC, 1976-1977
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Robert A. Saul, M.D.

      Second Year Resident in Pediatrics – Duke University Medical Center, Durham, NC, 1977-
       1978

      Third Year Resident in Pediatrics – Duke University Medical Center, Durham, NC, 1978-1979

      Fellow, Genetics - Department of Pediatrics, Medical University of South Carolina (Greenwood
       Genetic Center), 1979-1981

      Staff Geneticist - Greenwood Genetic Center, 1981-1985

      Associate Director - Greenwood Genetic Center, 1985-1989

      Director - Greenwood Genetic Center, 1989-1994

      Executive Director - Greenwood Genetic Center, 1994-1997

      Medical Director - Chief Operating Officer - Greenwood Genetic Center, 1997 – 1998

      Director of Clinical Services – Greenwood Genetic Center, 2012 - 2013

      Senior Clinical Geneticist – Greenwood Genetic Center, 1998 - 2013

      Training Program Director – Greenwood Genetic Center, 1989 – 2013

      Professor of Pediatrics, University of South Carolina School of Medicine-Greenville, April 1,
       2013 – 2020; Professor (Emeritus) 2021 - present

      Medical Director, General Pediatrics – Children’s Hospital, Greenville Health System, 2013 –
       2019 (name change to Prisma Health-Upstate 2017)

      Senior Medical Director, Pediatric Medicaid Services – Children’s Hospital, Greenville Health
       System, 2013 – 2019 (name change to Prisma Health-Upstate 2017)

      Department of Pediatrics CME coordinator—Greenville Health System, 2013 – 2019

      Clinical practice, Ferlauto Center for Complex Pediatric Care, 2017 – 2020.



      Private Practice, Pediatrics – Greenwood Children's Clinic, 1979-1997; Greenwood
       Community Children’s Center, 1997-2003.

      Chairman, Department of Pediatrics, Self Memorial Hospital, 1981, 1993
                                                                                                       2
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Robert A. Saul, M.D.

      Chairman, Department of Medical Genetics, Self Memorial Hospital, 1986-1996; Self Regional
       Health Care, (2004-present)

      Secretary, Department of Medical Genetics, Self Memorial Hospital, 1997

      Secretary-Treasurer, Medical Staff, Self Memorial Hospital, 1997

      President-elect, Medical Staff, Self Memorial Hospital, 1998

      President, Medical Staff, Self Memorial Hospital, 1999

      Chair, Physician Advocacy and Assistance Committee, 2001-2012 (Self Regional)

      Chair, Credentials Committee, 2002-2005 (Self Regional)

      Member, Board Committee on Quality, (Self Regional), 2006-2010

      Clinical Assistant Professor of Family Medicine (Greenwood), Medical University of South
       Carolina, 1982 [inactive]

      Clinical Professor of Pediatrics, University of South Carolina School of Medicine-Columbia,
       1984 [inactive]

      Chairperson, Subcommittee "Children Who Are Victims of Alcohol and Drug Abuse: Infant
       Mortality and Handicapping Conditions" Children's Coordinating Cabinet, State of South
       Carolina, 1985

      Member, Children's Health Advisory Committee, SC Department of Health and Environmental
       Control, 1986-1989; 1992-2004; Chairperson, 1997-2004.

      Member, Perinatal Delegation (People to People, Citizen Ambassador Program), People's
       Republic of China, May 1986

      NIH Special Study Section, Review for Program Project Grant, Pittsburgh, PA, April 1989

      Member, Pediatric Task Force to Reduce Perinatal Mortality, South Carolina, Department of
       Health and Environmental Control, 1989-1993

      Member, Needs Assessment Work Group--Children with Special Health Care Needs, South
       Carolina Department of Health and Environmental Control, 1992-1995

      Board of Trustees, South Carolina First Steps to School Readiness, 1999-2003 (Chair,
       Applications/Grants Committee)
                                                                                                     3
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Robert A. Saul, M.D.

      Managing Editor, Pediatric Genetics section, Emedicine, online textbook, 2000-2001

      Member, South Carolina Medical Association Maternal, Infant, and Child Health Committee,
       2004-2008

      American College of Medical Genetics and Genomics, Board of Directors (effective Mar 2007-
       2013)

      Editor-in- Chief, ACMG Medical Geneticist (newsletter of the American College of Medical
       Genetics and Genomics), 2010 - 2013

      Executive Committee, American Academy of Pediatrics Section on Birth Defects and Genetics,
       1997-2011 (Chair, Programs—1999-2003; Chairperson, 2003-2007; Subcommittee chair,
       Selection of the David W. Smith Award for Excellence in the Genetics and Birth Defects
       Education, 2010-2012)

      Committee on Genetics, American Academy of Pediatrics, 07/2007-06/2015 (Chair, 2011-
       2015)

      NCC (National Coordinating Council) State Newborn Screening Program and Provider
       Collaboration to Accomplish the Goals of the Newborn Screening Saves Lives Act (funded by
       HRSA MCHB/GSB and NICHD), 2009-2010

      Joint NCC/RC (National Coordinating Council/Regional Center) LTFU (Long term follow up) &
       NBSTRN (Newborn Screening Translational Research Network) Clinical Centers Workgroup,
       2009-2011

      AAP Quality Improvement Innovation Network (QuIIN) for newborn screening, 10/09 – 2/11

      South Carolina Diversity Leadership Initiative graduate (scholarship recipient), Riley Institute at
       Furman University, Upstate Class X, Fall 2010 (Riley Fellow)

      AAP Education in Quality Improvement in Pediatric Practice (eQIPP) for newborn screening,
       1/11—early 2012

      Genetics in Primary Care Institute (GPCI); Project Co-Director (HRSA-funded grant to the
       AAP; onset July 2011; 3 years [2011-2014], over $1.5 M total)

      Member of the Strategic Planning Group for the AAP Board of Directors on the Epigenetics
       Strategic Planning Initiative (effective April 2012 to 2015)—Epigenetics Leadership Group

      AAP Liaison to the American College of Obstetrics and Gynecology Committee on Genetics
       (effective April 2012 – June 2015)
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Robert A. Saul, M.D.

      AAP Liaison to Inter-Society Coordinating Committee for Practitioner Education in Genomics
       (effective 2013-2014 and sponsored by the National Human Genome Research Initiative)

      Chair, Family History Tool for Pediatric Providers Advisory Group; Genetics in Primary Care
       Institute (2012 – 2013)

      Chair, Residency Education Initiative Working Group; Genetics in Primary Care Institute (May
       2013 – 2014)

      Member of the AAP Working Group for “Down Syndrome Healthcare Guidelines for Parents”—
       2013

      Member, SCAAP Executive Committee, Education subcommittee, 2013 – 2019; Chair, 2016
       SCAAP Annual Meeting

      Member, AAP National Conference and Exhibition Planning Group, 2013 - 2019

      Chair, Early Identification, Management and Treatment of Global/Motor Delay initiative (Fragile
       X Syndrome Expert Panel—project of the American Academy of Pediatrics and the Centers for
       Disease Control)—2014 – 2018

      Principal Investigator—Insights on Evaluation of Children with Developmental Disability – a
       component of the early identification and treatment of Fragile X syndrome (FXS) needs
       assessment project. AAP Study ID# 15 SA 01. Approved July 2015, concluded 2016.

      Principal Investigator--Insights on Evaluation of Children with Developmental Disabilities-a
       component of the early identification and treatment of Fragile X Syndrome (FSX) needs
       assessment project [Project DIG-IT]. Phase 2” (IRB Study # 15 SA 02). Approved 2016, to
       conclude in 2017. [This project is funded through a cooperative agreement between the
       American Academy of Pediatrics and from the Centers for Disease Control and Prevention
       (Grant Number: 5 NU38 OT000167)].

      CME coordinator, Department of Pediatrics, GHS, 2013 – 2019 (includes service on the GHS
       CME committee)

      University of South Carolina School of Medicine – Greenville Admissions Committee, August
       2015 – 2019

      Greenville Health System Institutional Review Board B, September 2015 – 2019; Chair
       effective 1/1/16

      Invited Program Chair for the organizing committee for an inaugural meeting in June 2016 for
       the Association for Comprehensive Care in Rare Diseases (Optimizing Primary Care for
                                                                                                      5
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Robert A. Saul, M.D.
       Patients with Rare Diseases), Las Vegas, NV (meeting postponed); website established -
       http://www.rareopportunities.com/CME

      American Academy of Pediatrics liaison to Secretary’s Advisory Committee on Heritable
       Disorders in Newborns and Children (ACHDNC), Department of Health and Human Services
       (US government)—August 2016 to July 2017.

      American Academy of Pediatrics liaison, American Academy of Allergy, Asthma & Immunology
       (AAAI), Vaccines and Medications in Pregnancy Surveillance System (VAMPSS) Independent
       Advisory Committee, appointment in November 2016 for a 2 year term until 2018 (and
       extended until 2020).

      Vice President, South Carolina Chapter of the American Academy of Pediatrics, July 2018 –
       July 2020.

      President, South Carolina Chapter of the American Academy of Pediatrics, August 2020 –
       present


HOSPITAL AFFILIATIONS:

      Self Regional Health Care (Self Memorial Hospital prior to 11/2001) 1979-2013 (Inactive)

      Prisma Health-Upstate (formerly Greenville Memorial Hospital) – through 2020; retired

      Shriners Hospital for Children (Teaching) [Inactive]

      Mary Black Hospital (Spartanburg -Consulting) [Inactive]

      Spartanburg Regional Healthcare System [Inactive]

      McLeod Regional Medical Center (Florence, SC [Associate Consultant]) [Inactive]




PROFESSIONAL SOCIETIES:

      Fellow, American Academy of Pediatrics (Member, Council on Genetics)

      Founding Fellow, American College of Medical Genetics and Genomics

      American Society of Human Genetics (inactive)
                                                                                                   6
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Robert A. Saul, M.D.

      American Medical Association

      American College of Physician Executives (inactive)

      South Carolina Perinatal Association (inactive)

      South Carolina Chapter, American Academy of Pediatrics

      South Carolina Medical Association

      Greenwood County Medical Society (discontinued 2013)

      Greenville County Medical Society (started 2013)

      American Pediatric Society (effective 1/1/16)




HONORS:

      Alpha Omega Alpha Honor Medical Society -1975

      Emanuel Friedman Award – 1976 (Outstanding Performance for the Art of Medicine in
       Pediatrics)

      Maternal and Child Health Day--Special Recognition Award Dec. 11, 1996 (for exemplary
       service to mothers and children in South Carolina) South Carolina Dept. of Health and
       Environmental Control, Bureau of Maternal and Child Health

      CATCH (Community Access to Children’s Health) Recognition Award—Jan. 2001, SC CATCH
       meeting

      Phi Beta Kappa – 2012; honorary membership in the Gamma Chapter (Furman University) of
       South Carolina, induction 4/3/12

      Special Achievement Award, July 2012, American Academy of Pediatrics and the South
       Carolina Chapter of the AAP—“for distinguished service and dedication to the mission and
       goals of the Academy, for his many contributions to the chapter and to the AAP Committee on
       Genetics”



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Robert A. Saul, M.D.
      Special Recognition, March 2013, Self Regional Healthcare Family Medicine Residency
       Program—“for years of teaching excellence in the areas of Pediatrics and Medical Genetics,
       with much gratitude by the Faculty and Residents”


      Visiting Professor, Lehigh Valley Health Network, Department of Pediatrics, March 26-27,
       2013—Genetics

      Cited at the 2014 AAP Annual Leadership Forum (March 2014) as leading the American
       Academy of Pediatrics Committee on Genetics (COG) for two commendations—Innovation
       (publication of the Medical Genetics in Pediatric Practice AAP manual); Communication and
       Collaboration

      Invited lecturer at the15th Annual Meinhard Robinow Lectureship in Pediatrics (Pediatric
       Grand Rounds, April 24, 2014; University of Virginia School of Medicine, Department of
       Pediatrics)—annual endowed lectureship in the field of pediatrics, sustaining Dr. Robinow’s
       enduring legacy as a gifted teacher and physician.

      Medical Genetics in Pediatric Practice (an AAP Policy Manual and edited by Robert A. Saul,
       MD) received an honorable mention in the American Medical Writers Association Medical Book
       Awards for 2014

      Invited presenter to the pediatric residents, Sanford Health, Sioux Falls, SD, November 20,
       2014

      Invited keynote speaker/lecturer at the 7th Annual Denny Sanford Pediatric Symposium,
       Sanford Health, Sioux Falls, SD, November 21, 2014

      Invited speaker at the 2015 Institute for Child Success Research Symposium, Greenville, SC,
       October 16, 2015.

      Invited speaker at the NORD (National Organization for Rare Diseases) 2015 Rare Diseases
       and Orphan Products Breakthrough Summit, Arlington, VA, October 21, 2015.

      Active membership, American Pediatric Society (APS), effective 1/1/16

      Invited speaker for the inaugural O. Marion Burton, MD Lecture at the O. Marion Burton, MD
       CATCH meeting, Charleston, SC, January 22, 2016.

      Invited Program Chair, RD1°: Optimizing Primary Care for Patients with Rare Diseases a
       continuing medical education (CME) event presented by the Association for Comprehensive
       Care in Rare Diseases (ACCORD), June 9-10, 2016. [meeting postponed—content to be
       posted online]; website established – http://www.rareopportunities.com/CME

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Robert A. Saul, M.D.
      Special Achievement Award, January 2017, American Academy of Pediatrics and the South
       Carolina Chapter of the AAP—“for distinguished service and dedication to the mission and
       goals of the Academy, a very active member of the chapter, recently completed his term as
       Chair of the Section on Genetics and Birth Defects. He has published a highly rated and
       acclaimed book entitled ‘My Children’s Children: Raising Young Citizens in the age of
       Columbine.’ Dr. Saul has been active in the chapter for years. He has recently become
       director of The Center for Pediatric Medicine Greenville Health System. He is the 2015-2016
       Continuing Medical Education (CME) Chair for the chapter.”

      Awardee, American Academy of Pediatrics 2018 David W. Smith Award for Excellence in
       Genetics and Birth Defects Education (presented by the Council on Genetics)

      Awardee, Paul V. Catalana, MD Exemplary Character Award, 2018 (awarded by the pediatric
       residents yearly to a faculty member)




LICENSURE:

      Diplomate, National Board of Medical Examiners - 1977

      North Carolina - 1978, (#22623--inactive)

      South Carolina - 1978, (#8983)

      American Board of Pediatrics, 1981 (#25887)

      Drug Enforcement Administration, DEA #AS8702474 – 1981

      American Board of Medical Genetics, 1982, Clinical Genetics (#1432)



COMMUNITY AFFILIATIONS:

      Emerald Center - Steering committee for Emerald Center Golf Classic

      First Presbyterian Church - Deacon 1992-1994, Elder 1995-1998, 2005- 2007; Health
       Cabinet 1998-2000, Outreach Committee 1996-2000

      Noah's Ark Program, Chairperson, 1996-1997

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Robert A. Saul, M.D.
      Greenwood Rotary Club - 1993-2012

      Life-Long Learning Steering Committee, Greenwood Chamber of Commerce –1995- 1996

      Greenwood County Wellness Celebration, 1995-1999 (Co-chairperson)

      Greenwood Chamber of Commerce, Board of Directors, 1996 – 2003 (Chair, WorkForce
       Development Initiative 1999 – 2001); Chamber President, 2002

      Greenwood Community Children’s Center, Steering Committee, 1996; Board of Directors
       (Chairperson), 1996-2000; Senior Consultant, 2000-2001.

      Community Outreach Committee, Board of Directors, Self Memorial Hospital, 1998-2000.

      Board of Trustees, South Carolina First Steps to School Readiness, 1999-2003

      Chair, Grant/Applications Committee, Board of Trustees, South Carolina First Steps, 1999-
       2003

      Chairperson, Children’s Rehabilitative Services Medical Advisory Committee, DHEC, 1997-
       2004

      Cambridge Academy, Board of Trustees, 2001- 2006

      Greenwood Fifty School Facilities, Inc., Secretary-Treasurer, 2006-2009, Chair, 2009-2013
       (Capital Improvements Board)

      Lander University Board of Visitors, 2007-2009

      Website, http://mychildrenschildren.com

      Greenwood Touchdown Club, President, 2008- 2012

      Children’s Hospital, Greenville Health System, Development Council, 2013 – 2019


JOURNAL REVIEWER (episodic)

      American Journal of Medical Genetics
      BMC Medical Genomics
      Early Human Development
      GeneReviews
      Genetics in Medicine
      Journal of Pediatrics
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Robert A. Saul, M.D.
        Pediatrics
        Pediatrics in Review
        Molecular Genetics and Metabolism


RESEARCH STUDIES:

        Novartis Pharmaceuticals: A randomized, double-blind, placebo-controlled, parallel group
         study to evaluate AFQ056 in adult patients with Fragile X Syndrome (CAFQ056A2212)-active;
         Role: Sub-investigator (2011-2012)

        Novartis Pharmaceuticals: An open-label study to evaluate the long-term safety, tolerability
         and efficacy of AFQ056 in adult patients with Fragile X Syndrome (CAFQ056B2279)-active;
         Role: Sub-investigator (2011-2012)

        Novartis Pharmaceuticals: A randomized, double-blind, placebo-controlled, parallel group
         study to evaluate the efficacy and safety of AFQ056 in adolescent patients with Fragile X
         Syndrome (CAFQ056B2214)-active; Role: Sub-investigator (2011-2012)

        Genetics in Primary Care Institute: Residency Education Initiative Study. AAP IRB-approved
         study submitted to the Association of Pediatric Residency Program Directors, 2013; Role:
         Principal investigator (2013)

        Principal Investigator—Insights on Evaluation of Children with Developmental Disability – a
         component of the early identification and treatment of Fragile X syndrome (FXS) needs
         assessment project. AAP Study ID# 15 SA 01. Approved July 2015

        Principal Investigator--Insights on Evaluation of Children with Developmental Disabilities-a
         component of the early identification and treatment of Fragile X Syndrome (FSX) needs
         assessment project. Phase 2” (IRB Study # 15 SA 02).



PUBLICATIONS for Robert A. Saul, MD:

Articles and publications

1.       Saul RA, Vernon M, Roe C and Osofsky S: Rhabdomyolysis in a patient with nonoliguric renal
         failure: Similarities to the toxic-shock syndrome. South Med J 73:261, 1980.

2.       Saul RA, Riley S, Jorgenson R, Rogers JF, Young R and Hickson E: Amniocentesis and
         prenatal diagnosis in South Carolina: A collaborative report for the years 1976 to 1979. J So
         Car Med Assn 76:387-390, 1980.

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3.    Saul RA, Osofsky SG: Myositis with Staphylococcal infections (Letter). J Pediatr 97:701,
      1980.

4.    Potts WE, Riley S and Saul RA: Transport media for solid tissue. Karyogram 7(3):37, 1981.

5.    Saul RA, Lee WH, and Stevenson RE: Caffey Disease Revisited: Further evidence for
      autosomal dominant inheritance with incomplete penetrance. Am J Dis Child 136:56, 1982

6.    Saul RA, Stevenson RE, and Bley R: Mental retardation in the Bannayan syndrome.
      Pediatrics 69:642, 1982.

7.    Saul RA (editor): Proceedings of the Greenwood Genetic Center, Vol 1, 1982.

8.    Saul RA, Stevenson RE, Simensen RJ, Wilkes G, Alexander W and Taylor HA: Fragile X
      syndrome in South Carolina. J So Car Med Assn, 78:275-277, 1982.

9.    Saul RA, Sturner RA, and Burger PC: Hyperplasia of the myenteric plexus: Its association
      with early infantile megacolon and neurofibromatosis. Am J Dis Child 136:852-854, 1982.

10.   Saul RA (editor): Proceedings of the Greenwood Genetic Center, Vol 2, 1983.

11.   Potts WE, Saul RA, Riley SE, Stevenson RE and Taylor HA: Transport media for tissue
      specimens: A comparative study, Am J Med Genet 15:507-510, 1983.

12.   Saul RA (editor): Proceedings of the Greenwood Genetic Center, Vol 3, 1984.

13.   Saul RA (editor): Proceedings of the Greenwood Genetic Center, Vol 4, 1985.

14.   Saul RA: Noonan syndrome in a patient with hyperplasia of the myenteric plexuses and
      neurofibromatosis, Am J Med Genet 21:491, 1985.

15.   Saul RA (editor): Proceedings of the Greenwood Genetic Center, Vol 5, 1986.

16.   Saul RA: Idiopathic Cortical Hyperostosis in Current Pediatric Therapy - 12th edition, Gellis
      SS, Kagan BM, Eds., WB Saunders, Philadelphia, 1986, pp. 422-423.

17.   Saul RA (editor): Proceedings of the Greenwood Genetic Center, Vol 6, 1987.

18.   Saul RA (editor): Proceedings of the Greenwood Genetic Center, Vol 7, 1988.

19.   Schwartz CE, Phelan MC, Pulliam LH, Wilkes G, Vanner LV, Albiez KL, Potts WA, Rogers RC,
      Schroer RJ, Saul RA, Prouty LA, Dean JH, Taylor HA, and Stevenson RE: Fragile X
      syndrome: Incidence, clinical and cytogenetic findings in the black and white populations of
      South Carolina, Amer J Med Genet 30:641, 1988.

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Robert A. Saul, M.D.
20.   Saul RA, Stevenson RE, Rogers RC, Skinner SA, Prouty LA, and Flannery DB: Growth
      References from Conception to Adulthood, Suppl 1, Proc Greenwood Genet Center, 1988.

21.   Saul RA: Gastric outlet obstruction in chronic granulomatous disease, J Pediatr 114:505,
      1989.

22.   Saul RA (editor): Proceedings of the Greenwood Genetic Center, Vol 8, 1989.

23.   Saul RA (editor): Proceedings of the Greenwood Genetic Center, Vol 9, 1990.

24.   Saul RA and Wilson WG: A "new" skeletal dysplasia in two unrelated boys, Am J Med Genet
      35:388-393, 1990.

25.   Stevenson RE, Saul RA: Mucopolysaccharidosis VI, Birth Defects Encyclopedia, Buyse ML,
      ed., 1990, pp. 1166-1167.

26.   Saul RA (editor): Proceedings of the Greenwood Genetic Center, Volume 10, 1991.

27.   Schwartz CE, Brown AM, Der Kaloustian VM, McGill CC, Saul RA. 1991. DNA fingerprinting:
      the utilization of minisatellite probes to detect a somatic mutation in the Proteus syndrome. In:
       Burke T, Dolf G, Jeffreys AJ, Wolff R, editors. DNA fingerprinting approaches and
      applications. Basel, Switzerland: Birkhauser Verlag. P 95-105.

28.   McNeil MM, Brown JM, Magruder CH, Shearlock KT, Saul RA, Allred DP, Ajello L:
      Disseminated Nocardia transvalensis infection: an unusual opportunistic pathogen in severely
      immunocompromised patients. J Infect Dis 165(1):175-178, 1992.

29.   Saul RA (editor): Proceedings of the Greenwood Genetic Center, Volume 11, 1992.

30.   Phelan MC, Thomas GR, Saul RA, Rogers RC, Taylor HA, Wenger DA, McDermid HE:
      Cytogenetic, biochemical, and molecular analyses of a 22q13 deletion, Am J Med Genet
      43:872-876, 1992.

31.   Simensen RJ, Saul RA, Tarleton JC, Phelan MC: Neuropsychological functioning in fragile X
      syndrome and monosomy X mosaicism: A case presentation. Int J Psychol 27:3&4,395,
      1992.

32.   Saul RA: Wrongful birth: My right to a perfect baby. In In the Beginning: Ethical Issues
      Surrounding the Beginnings of Human Life, Bost RM, ed., The Center for Ethical Development,
      Newberry College, 1992, pp.55-62.

33.   Saul RA, R. Curtis Rogers, Mary C. Phelan, Stevenson RE: Brachmann-de Lange syndrome:
      Diagnostic difficulties posed by the mild phenotype, Am J Med Genet 47:999-1002, 1993.


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